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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHER DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 SHENZHEN WENWEN NEW WORLD
 TRADING COMPANY LIMITED,
                                                          Civil Action No. 1:18-cv-4778
        Plaintiff
                                                           JURY TRIAL DEMANDED
                v.

 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS ON
 SCHEDULE “A”

        DEFENDANTS.


                                         SCHEDULE A

               This document is being filed under seal pursuant to L.R. 26.2. Plaintiff hereby files

this public record version of this document pursuant to L.R. 26.2(c). Plaintiff will file a sealed

version of this document along with its Motion to Seal.
